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AO 106 (Rev. 04/10) Application for a Search Warrant

 

UNITED STATES DISTRICT COURT

for the Ory
L198 om,

Southern District of Ohio TN wh
In the Matter of the Search of )
(Briefly describe the property to be searched )

or identify the person by name and address) ) Case No. ‘ ‘

FOUR ELECTRONIC DEVICES ~

)

APPLICATION FOR A SEARCH WARRANT

I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
ae of “perury that I have reason to believe that on the following person or property (identify the person or describe the

PROSE fat ney eam ee a rf has Authority to issue this warrant under 18 U.S.C. sections 2703(c)(1)(A) and 2711(3)

(A) and Federal Rule of Criminal Procedure 41.

 

located in the Southern District of Ohio , there is now concealed (identify the
person or describe the property to be seized):

See Attachment B.

The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
of evidence of a crime:
of contraband, fruits of crime, or other items illegally possessed;
property designed for use, intended for use, or used in committing a crime;

C1 a person to be arrested or a person who is unlawfully restrained.

The search is related to a violation of:

Code Section Offense Description
21 U.S.C. section 846 Possession with the intent to distribute and to distribute a controlled substance
21 U.S.C. section 841 and conspiracy to commit the same

The application is based on these facts:

See Attached Affidavit.

a Continued on the attached sheet.

am Delayed notice of 30 days (give exact ending date if more than 30 days: ) is requested
under 18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.

i

 

 

Applicant's a
SA Dennis Eng, FBI

 

Printed name and title
Sworn to before me and signed in my presence.

ae: 4-H 19 ham CLT.

~ Judge ’s ea

City and state: Dayton, Ohio Sharon L. Ovington, United Statas Magistrate Judge

 

 

Printed name and tie
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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF OHIO
WESTERN DIVISION AT DAYTON

Ps

IN THE MATTER OF THE SEARCH OF
FOUR ELECTRONIC DEVICES Case No.

 

 

AFFIDAVIT IN SUPPORT OF AN
APPLICATION UNDER RULE 41 FOR A
WARRANT TO SEARCH AND SEIZE

1, Dennis C. Eng, being first duly sworn, hereby depose and state as follows:
INTRODUCTION AND AGENT BACKGROUND

1. { make this affidavit in support of an application under Rule 41 of the Federal
Rules of Criminal Procedure for a search warrant authorizing the examination of property—an
electronic device—which is currently in law enforcement possession, and the extraction from

that property of electronically stored information described in Attachment B.

Ds I am a Special Agent of the Federal Bureau of Investigation (“FBI”) and have
been so employed since July 1998. I am currently assigned to the Cincinnati Division, Dayton
Resident Agency. As such, | am charged with investigating crimes against the United States,
including but not limited to violations of Title 18 and Title 21 of the United States Code
(U.S.C.). I have received training in drug trafficking investigations and have participated in
numerous narcotics-related investigations (ultimately leading to successful prosecution) that
involved surveillance, gathering evidence of money laundering, interviewing suspected drug
traffickers, and supervising the activities of informants who provided information and assistance

which resulted in the seizure of narcotics. I am familiar with federal drug laws, and am aware
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that it is a violation of 21 U.S.C. §§ 841(a)(1) and 846 to distribute and possess with intent to
distribute controlled substances (including heroin and fentanyl), as well as to conspire to do the

same.
3. This affidavit is intended to show only that there is sufficient probable cause for

the requested warrant and does not set forth all of my knowledge about this matter.
IDENTIFICATION OF THE DEVICE TO BE EXAMINED
4, The property to be searched:

a. Verizon — LG Model VN170, S/N: 609CQRN1916846, MEID HEX:
A10000415874B2

b. Verizon — LG Model VNI170, S/N: 704CQFT2323347, MEID HEX:
A10000416ADESF

c. Verizon Casio CE0700, S/N 132901073135, MEID HEX: A1000029088CAF
d. Verizon Casio CE0700, S/N 142501431069, MEID HEX: A10000290EECF0

hereinafter collectively referred to as the “Devices.” The Devices are currently located at 2329

Wilmington Pike, Kettering, Ohio 45420.

3. The applied-for warrant would authorize the forensic examination of the Devices

for the purpose of identifying electronically stored data particularly described in Attachment B.
PROBABLE CAUSE

6. The United States, including the Bureau of Alcohol, Tobacco, Firearms, and

Explosives (“ATF”) and the Federal Bureau of Investigation (“FBI”) are conducting a criminal
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investigation of Vincent Miller (hereinafter “MILLER”) a/k/a “Turk” regarding drug

trafficking.

v. Tactical Crime Suppression Unit (“TCSU”) controls a confidential informant
(hereinafter referred to as “C]1”) who is working for financial consideration. Since July 2018,
Cll has provided information that could be corroborated and assisted TCSU in multiple
investigations. CII is believed to be reliable. Cll is currently assisting FBI and ATF witha

federal criminal investigation.

8. In early 2019, TCSU detectives began investigating Shaun QUILLEN (hereinafter
referred to as “QUILLEN”) through CI1’s information that QUILLEN was selling
heroin/fentanyl. Cll has known QUILLEN for a number of years. TCSU detectives have
conducted several undercover purchases of heroin/fentanyl from QUILLEN utilizing CI and an

undercover officer.

9. Cll said that approximately a year and half ago, QUILLEN introduced his source
of supply -“Turk” - to CI and identified cellular telephone number (937) 397-1560 as belonging

to “Turk.” “Turk” was later identified by law enforcement as MILLER.

10. From April 2019 through June 2019, at law enforcement Cll made undercover
heroin/fentanyl purchases from MILLER. Also, during that time period, law enforcement
conducted surveillance of MILLER. Through surveillance and other information, law
enforcement identified 7707 Tanager Meadows, Trotwood, Ohio as a location where MILLER

stayed with his girlfriend.
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LL. Among the undercover buys was one that occurred on or about April 2, 2019.
TCSU Detective Gregory Stout and Director Robert Green met with CI1 at a predetermined
location, and searched CI1’s person for contraband and weapons with negative results. CIl was
provided with an electronic transmitting / recording device and prerecorded buy money to
purchase a half ounce of heroin/fentany! for $1,050. On that same date, at the direction of TCSU,
Cll placed a recorded cellular telephone call to MILLER at (937) 397-1560. During the course
of the call, CI1 spoke with a person who Cll confirmed was MILLER and Cll asked if he
(MILLER) “can do a half 0.” MILLER responded “yeah.” Using somewhat cryptic language,
Cll and MILLER confirmed the price of $1,050 and discussed a meeting location. MILLER
advised the CI1 to meet him (MILLER) at “April’s.” Cll stated April’s address is 4998 Wolf
Creek Pike, Dayton, Ohio. After the telephone call, CI1 got into his/her vehicle and left the
staging location. During the undercover purchase, law enforcement was conducting surveillance
and able to observe portions of the interaction. At approximately 2:39 p.m., Cll arrived at 4998
Wolf Creek and shortly afterward MILLER arrived in the silver Ford Edge. Cll greeted
MILLER and asked him “what up boy.” MILLER and Cll had a brief discussion and then the
Cl exchanged the $1050 for a half ounce of suspected heroin/fentanyl. CII laughed, and
MILLER stated “Ah be careful call me man...” CI replied, “I will man, I’m getting the hell
out of here as fast as possible....” At approximately 2:40 p.m., MILLER and Cll departed 4998
Wolf Creek Pike. The Cll then proceeded back to a debrief location where CI1 turned over the
suspected heroin/fentanyl to law enforcement. The suspected heroin/fentanyl was placed into
property at the TCSU property room, and later sent to the Ohio Bureau of Criminal Investigation

(hereinafter referred to as “BCI’) laboratory for analysis. The suspected heroin/fentanyl
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packaged in a plastic baggie weighed approximately 13.4 grams. Subsequent laboratory results
determined the white powder to be 12.28 +/- 0.04 grams of Fentanyl.

12. Another undercover purchase occurred on or about on or about April 18, 2019.
TCSU Detectives and Director Robert Green met with CI1 and searched CI1’s person for
contraband and weapons, producing negative results. CI] was provided with an electronic
transmitting /recording device and prerecorded buy money to purchase a half ounce of
heroin/fentany! for $1,050. Cll placed a recorded cellular telephone call to MILLER at (937)
397-1560, CI had confirmed that the person he/she spoke with was MILLER. During the
course of the call, Cl] asked if he (MILLER) “can do another half” and discussed a potential
purchase of a firearm from MILLER. MILLER directed Cll to 4998 Wolf Creek Pike. At
approximately 2:30 p.m., CI arrived at 4998 Wolf Creek Pike at which time MILLER arrived
ina black Nissan Rogue. CI1 ultimately approached MILLER who was sitting in the driver’s
side of the Nissan Rogue. According to CI1, they conducted the transaction through the driver’s
side window and exchanged the pre-recorded $1,050 for a bag of off-white powder. The
recording device captured CI] and MILLER discussing the pre-recorded buy money, and they
followed up on their prior conversation about a “piece” (meaning a firearm). After the
transaction, CI] then returned to his/her vehicle. MILLER and Cll departed 4998 Wolf Creek
Pike, and CI ultimately turned over the suspected heroin/fentanyl, which was placed into the
TCSU property room and later sent to BCI for analysis. The suspected heroin/fentany] packaged
ina plastic baggie weighed approximately 16.7 grams. Subsequent laboratory results
determined the white powder to be 14.08 +/- 0.04 grams of fentanyl/heroin mixture. These two

buys are examples of purchases made from MILLER.
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13. On July 2, 2019, at approximately 6:09 p.m., Dayton Police Officer Luke Scott
and Michael Schwartz, observed a male standing near a black Kia Sorento bearing Ohio license
plate number HRJ9346. The vehicle had excessive window tint, an obstructed license plate and
parked within 5 feet of a driveway in violation of state law. As they passed the vehicle, the
officers could smell a strong odor of marijuana emitting from the vehicle, Officer Schwartz then
made a U-turn to speak to the male in regards to the vehicle and smell of marijuana. As the
officers conducted the U-Turn, the male who was standing outside of the vehicle (later identified

as MILLER) closed the rear passenger side door and stepped away from the vehicle.

14. As Officer Luke approached the vehicle, they observed MILLER was nervous
and asked to speak to him. The officers then patted MILLER down due to the smell of
marijuana and found a large bag containing marijuana in his front pants pocket along with a large
sum of U.S. currency. As Officer Luke escorted MILLER to the marked unit, Officer Schwartz
made contact with a male seated in the front passenger seat of the vehicle who was later
identified as Devion Loveless. After opening the front passenger door, Officer Schwartz was
overwhelmed with an odor of marijuana which was emitting from inside the vehicle. Officer
Schwartz observed a large gallon sized plastic bag full of marijuana (approximately 450 plus
grams) at Loveless’ feet. Officer Schwartz removed Loveless from the vehicle and placed him in
the marked unit. Officer Schwartz conducted a query in their computer system and found that

Loveless was currently on state parole and MILLER was on active federal probation.

15. Officer Scott continued searching the vehicle for illegal contraband and found
multiple phones in the center console. Additionally, another large gallon bag of marijuana

(approximately 200 plus grams) was located inside of a large, airtight container.

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16.

Officers seized the large plastic bags of marijuana and Avis rental agreement in

the name of “Vincent Miller.” Officers also seized seven (7) cellular telephones from

MILLER’s vehicle, namely:

17.

a. Verizon — Kyocera Model $2720, IMEI 01486400561 2224

- Verizon — LG Model VN170, S/N: 609CQRN1916846, MEID HEX:

A10000415874B2

Verizon — LG Model VNI170, S/N: 704CQFT2323347, MEID HEX:

A10000416ADESF

_ Verizon Casio CE0700, S/N 132901073135, MEID HEX: A1000029088CAF

Verizon Casio CE0700, S/N 142501431069, MEID HEX: A10000290EECF0

Black iPhone with no visible identifiers (presently contained in an FBI evidence

bag labeled “1B37”)

- Red iPhone with no visible identifiers (presently contained in an FBI evidence

bag labeled “1B38”)

On July 10, 2019, United States Magistrate Judge Sharon L. Ovington signed a

search and seizure warrant for 7707 Tanager Meadows (case number 3:19MJ384) where

MILLER was believed to be residing, based in part upon the presence of a vehicle that he

operated parked there and information from a confidential source. MILLER was present in the

home when the search warrant was executed on July 11, 2019.
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18. On July 11, 2019, the FBI and ATF executed the search warrant at 7707 Tanager
Meadows. During the search, agents and law enforcement officers seized two firearms, rifle
magazines, ammo, suspected drugs and paraphernalia and a Glock gun box. Also, seized were

six (6) cell phones:
a. AT&T Pantech Model P2030, S/N: 1311001667161
b. iPhone Model A1586, IMEI: 353028099100582
c. Kyocera Model $2720, IMEI: 014864005962728
d. Kyocera Model $2720, IMEI: 014864001170995
e. Kyocera Model $2720, IMEI: 014864002274648

f. Red iPhone with no visible identifiers (presently contained in an FBI evidence

bag labeled “1B19”)

MILLER’s girlfriend, who was present at 7707 Tanager Meadows during the search warrant

execution, identified the six cell phones as belonging to MILLER.

19, On August 1, 2019, United States Magistrate Judge Michael J. Newman signed a
federal search and seizure warrant for the thirteen electronic devices under case number

3:19MJ429.

20. On or about August 3, 2019, I discovered that Attachment A of the search and
seizure warrant listed thirteen devices but some of the devices were inadvertently listed multiple
times resulting in four devices not being listed at all. However, in the affidavit for the

application, all thirteen electronic devices were correctly listed. The four electronic devices (2
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Verizon Model LG VN170 and 2 Verizon Casio CE0700) not listed on Attachment A of

3:19MJ429 are listed below:

a. Verizon — LG Model VNI170, S/N: 609CQRN1916846, MEID HEX:
A10000415874B2

b. Verizon — LG Model VNI170, S/N: 704CQFT2323347, MEID HEX:
A10000416ADE5F

c. Verizon Casio CE0700, S/N 132901073135, MEID HEX: A1000029088CAF
d. Verizon Casio CE0700, S/N 142501431069, MEID HEX: A10000290EECFO

21. From my training and experience, traffickers often use cellular telephones to
arrange transactions with their user-customers, often directing the customer to locations where
the trafficker can meet them in a car (sometimes rental cars) and do a quick hand-to-hand
exchange. In addition to using texts to arrange a single sale, it is common for traffickers to send
text messages to the users informing them of price or the availability of a new supply of drugs
(sometimes in a mass text to several people simultaneously). Traffickers commonly store the
names and phone number of their user-customers, as well as those involved in drug trafficking
with the trafficker (sometimes under alias or code names). Because cellular phones often have
digital cameras built-in to the phone, it is common for traffickers to take pictures of themselves,
their associates, proceeds, and other evidence of drug trafficking. Cellular phones can also store
photographs sent to the phone electronically. It is common for traffickers to possess multiple
phones because they may be transitioning from arranging sales on a particular phone to another
phone as a law enforcement countermeasure, and because traffickers may use one phone to talk

to customers while using other phones to communicate with a supplier or associate.
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22,

The Devices are currently in storage at located at 2329 Wilmington Pike,

Kettering, Ohio 45420. In my training and experience, I know that the Devices have been stored

in a manner in which its contents are, to the extent material to this investigation, in substantially

the same state as they were when the Devices first came into the possession of the FBI.

2:

TECHNICAL TERMS

Based on my training and experience, I use the following technical terms to

convey the following meanings:

a.

Wireless telephone: A wireless telephone (or mobile telephone, or cellular
telephone) is a handheld wireless device used for voice and data communication
through radio signals. These telephones send signals through networks of
transmitter/receivers, enabling communication with other wireless telephones or
traditional “land line” telephones. A wireless telephone usually contains a “call
log,” which records the telephone number, date, and time of calls made to and
from the phone. In addition to enabling voice communications, wireless
telephones offer a broad range of capabilities. These capabilities include: storing
names and phone numbers in electronic “address books;” sending, receiving, and
storing text messages and e-mail; taking, sending, receiving, and storing still
photographs and moving video; storing and playing back audio files; storing
dates, appointments, and other information on personal calendars; and accessing
and downloading information from the Internet. Wireless telephones may also
include global positioning system (“GPS”) technology for determining the

location of the device.

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b. Digital camera: A digital camera is a camera that records pictures as digital
picture files, rather than by using photographic film. Digital cameras use a
variety of fixed and removable storage media to store their recorded images.
Images can usually be retrieved by connecting the camera to a computer or by
connecting the removable storage medium to a separate reader. Removable
storage media include various types of flash memory cards or miniature hard
drives. Most digital cameras also include a screen for viewing the stored images.
This storage media can contain any digital data, including data unrelated to

photographs or videos.

c. GPS: A GPS navigation device uses the Global Positioning System to display its
current location. It often contains records the locations where it has been. Some
GPS navigation devices can give a user driving or walking directions to another
location. These devices can contain records of the addresses or locations involved
in such navigation. The Global Positioning System (generally abbreviated
“GPS”) consists of 24 NAVSTAR satellites orbiting the Earth. Each satellite
contains an extremely accurate clock. Each satellite repeatedly transmits by radio
a mathematical representation of the current time, combined with a special
sequence of numbers. These signals are sent by radio, using specifications that
are publicly available. A GPS antenna on Earth can receive those signals. When
a GPS antenna receives signals from at least four satellites, a computer connected
to that antenna can mathematically calculate the antenna’s latitude, longitude, and

sometimes altitude with a high level of precision.

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d. IP Address: An Internet Protocol address (or simply “IP address”) is a unique
numeric address used by computers on the Internet. An IP address is a series of
four numbers, each in the range 0-255, separated by periods (e.g., 121.56.97.178).
Every computer attached to the Internet computer must be assigned an IP address
so that Internet traffic sent from and directed to that computer may be directed
properly from its source to its destination. Most Internet service providers control
a range of IP addresses. Some computers have static-——that is, long-term—IP
addresses, while other computers have dynamic—that is, frequently changed—IP

addresses.

e. Internet: The Internet is a global network of computers and other electronic
devices that communicate with each other. Due to the structure of the Internet,
connections between devices on the Internet often cross state and international
borders, even when the devices communicating with each other are in the same

State.

24. Based on my training, experience, and research, I know that the Devices have
capabilities that allow them to serve as a wireless telephone, digital camera, GPS navigation
device, and provide internet access. In my training and experience, examining data stored on
devices of this type can uncover, among other things, evidence that reveals or suggests who

possessed or used the device.

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ELECTRONIC STORAGE AND FORENSIC ANALYSIS

25. Based on my knowledge, training, and experience, I know that electronic devices
can store information for long periods of time. Similarly, things that have been viewed via the
Internet are typically stored for some period of time on a device. This information can

sometimes be recovered with forensics tools.

26. Forensic evidence. As further described in Attachment B, this application seeks
permission to locate not only electronically stored information that might serve as direct
evidence of the crimes described on the warrant, but also forensic evidence that establishes how
the Device was used, the purpose of its use, who used it, and when. There is probable cause to

believe that this forensic electronic evidence might be on the Devices because:

a. Data on the storage medium can provide evidence of a file that was once on the
storage medium but has since been deleted or edited, or of a deleted portion of a

file (such as a paragraph that has been deleted from a word processing file).

b. Forensic evidence on a device can also indicate who has used or controlled the
device. This “user attribution” evidence is analogous to the search for “indicia of

occupancy” while executing a search warrant at a residence.

c. A person with appropriate familiarity with how an electronic device works may,
after examining this forensic evidence in its proper context, be able to draw
conclusions about how electronic devices were used, the purpose of their use, who

used them, and when.

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Za

The process of identifying the exact electronically stored information on a storage
medium that is necessary to draw an accurate conclusion is a dynamic process.
Electronic evidence is not always data that can be merely reviewed by a review
team and passed along to investigators. Whether data stored on a computer is
evidence may depend on other information stored on the computer and the
application of knowledge about how a computer behaves. Therefore, contextual
information necessary to understand other evidence also falls within the scope of

the warrant.

Further, in finding evidence of how a device was used, the purpose of its use, who
used it, and when, sometimes it is necessary to establish that a particular thing is

not present on a storage medium.

Nature of examination. Based on the foregoing, and consistent with Rule

41(e)(2)(B), the warrant I am applying for would permit the examination of the Devices

consistent with the warrant. The examination may require authorities to employ techniques,

including but not limited to computer-assisted scans of the entire medium, that might expose

many parts of the Devices to human inspection in order to determine whether it is evidence

described by the warrant.

28.

Manner of execution. Because this warrant seeks only permission to examine the

Devices already in law enforcement’s possession, the execution of this warrant does not involve

the physical intrusion onto a premises. Consequently, I submit there is reasonable cause for the

Court to authorize execution of the warrant at any time in the day or night.

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CONCLUSION

29. I submit that this affidavit supports probable cause for a search warrant
authorizing the examination of the Devices described in Attachment A to seek the items

described in Attachment B.

Respectfully submitted,

D&@inis C. Eng
Special Agent

Federal Bureau of Investigatio

Subscribed and sworn to before me on September 4, 2019:

Macao kA

HONORABLE SHARON LNOVINGTON
UNITED STATES MAGISTRATE JUDGE

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c.

d.

ATTACHMENT A
The property to be searched:

Verizon — LG Model VN170, S/N: 609CQRN1916846, MEID HEX:
A10000415874B2

Verizon — LG Model VN170, S/N: 704CQFT2323347, MEID HEX:
A10000416ADESF

Verizon Casio CE0700, S/N 132901073135, MEID HEX: A1000029088CAF
Verizon Casio CE0700, S/N 142501431069, MEID HEX: A10000290EECFO

The Devices are currently stored at 2329 Wilmington Pike, Kettering, Ohio 45420, in the

Southern District of Ohio.

This warrant authorizes the forensic examination of the Devices for the purpose of

identifying the electronically stored information described in Attachment B.
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ATTACHMENT B

L. All records on the Devices described in Attachment A that relate to violations of
21 U.S.C. § 843(b) (use of a telecommunication facility to facilitate a Title 21 violation) and 21
U.S.C. §§ 841(a)(1) and 846 (possession with intent to distribute a controlled
substance/distribution of a controlled substance/conspiracy to distribute and possess with intent

to distribute a controlled substance) and involving Vincent Miller (“MILLER”), including:
a. lists of customers and related identifying information;

b. types, amounts, and prices of drugs trafficked as well as dates, places, and

amounts of specific transactions;

c. any information related to sources of drugs (including names, addresses, phone

numbers, or any other identifying information):
d. any information recording MILLER’s schedule or travel:

e. all bank records, checks, credit card bills, account information, and other financial

records;

f. photographs or other images of controlled substances, firearms, drug trafficking
instruments (e.g. scales, cutting agents such as mannitol, packaging materials,

presses), suppliers, assets and cash, or other matters related to drug trafficking.

Zs Evidence of user attribution showing who used or owned the Devices at the time
the things described in this warrant were created, edited, or deleted, such as logs, phonebooks,

saved usernames and passwords, documents, and browsing history.
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As used above, the terms “records” and “information” include all of the foregoing items
of evidence in whatever form and by whatever means they may have been created or stored,
including any form of computer or electronic storage, text messages, and/or any photographic

form.

This warrant authorizes a review of electronic storage media and electronically stored
information seized or copied pursuant to this warrant in order to locate evidence, fruits, and
instrumentalities described in this warrant. The review of this electronic data may be conducted
by any government personnel assisting in the investigation, who may include, in addition to law
enforcement officers and agents, attorneys for the government, attorney support staff, and
technical experts. Pursuant to this warrant, the FBI may deliver a complete copy of the seized or
copied electronic data to the custody and control of attorneys for the government and their

support staff for their independent review.
